                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  UNITED STATES OF AMERICA, )
                            )
  v.                        )                   No.    3:17-CR-82
                            )
  RANDALL KEITH BEANE       )                   (VARLAN/SHIRLEY)


     REQUEST TO AMEND THE REQUEST TO JOIN IN CO-DEFENDANT FILINGS


         COMES the Defendant Randall Keith Beane, through his elbow counsel, and respectfully

  request that he be allowed to amend his request to join the “refiled as doc. 65 and treated as

  Objections to R&R – NOTICE OF FILING Original Instrument duly rejected… by Heather Ann

  Tucci-Jarraf regarding 62 REPORT AND RECOMMENDATIONS by Magistrate Judge C

  Clifford Shirley, Jr. on November 15, 2017” (doc. 64) and “Pro se OBJECTION TO REPORT

  AND RECOMMENDATIONS 62” (doc. 65) filed by Co-Defendant Heather Ann Tucci-Jarraf.

  The Defendant is similarly situated as the Co-Defendant in that Defendant also believes that this

  Court has no jurisdiction over him.

         The Defendant had previously filed, through his elbow counsel, a MOTION Adopt (doc.

  63) but was not able to specify the document numbers being adopted as the filings being adopted

  were filed at the clerks office via hand delivery and the Defendant wanted to file his MOTION

  Adopt (doc. 63) before the Motion Deadline that same day.

         WHEREFORE, the Defendant respectfully requests, through his elbow counsel, this

  Honorable Court to allow him to join the above referenced filings of Co-Defendant Heather Ann

  Tucci-Jarraf.

         Respectfully submitted this 4th day of December, 2017.




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                                                               s/Stephen G. McGrath
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                                      CERTIFICATE OF SERVICE

           I hereby certify that a true and exact copy of this document has been served upon counsel
  for all parties of record in this case via this Court’s electronic filing system on this 4th day of
  December, 2017.

                                                               s/Stephen G. McGrath
                                                               Stephen G. McGrath




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